
PER CURIAM.
We affirm the trial judge’s dismissal of the information charging appellee with having sold cocaine within 1,000 feet of a public or private elementary, middle or secondary school in violation of section 893.-13(l)(e), Florida Statutes (1989). The school in question was a private kindergarten called “Morris Learning Center”.
While the legislature may have secretly intended its handiwork to apply to private kindergartens, it simply did not say so. What it did say is capable of being understood to apply only to public and private elementary schools, not including kindergartens. Strict construction of this criminal statute in favor of the accused and stare decisis require us to read the statute as excluding private kindergartens and preschools, as we did in State v. Roland, 511 So.2d 680 (Fla. 4th DCA 1991).
AFFIRMED.
DOWNEY, GUNTHER and FARMER, JJ., concur.
